 Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 1 of 15




               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )          CR No. 21-28-3
                                   )          Washington, D.C.
       vs.                         )          February 16, 2021
                                   )          4:00 p.m.
JESSICA M. WATKINS,                )
                                   )
          Defendant.               )
___________________________________)


   TRANSCRIPT OF STATUS CONFERENCE VIA ZOOM PROCEEDINGS
            BEFORE THE HONORABLE AMIT P. MEHTA
               UNITED STATES DISTRICT JUDGE


APPEARANCES:

For the Government:               Kathryn Leigh Rakoczy
                                  Ahmed M. Baset
                                  U.S. ATTORNEY'S OFFICE
                                  FOR THE DISTRICT OF COLUMBIA
                                  555 Fourth Street, NW
                                  Washington, D.C. 20530
                                  (202) 252-6928
                                  Email:
                                  kathryn.rakoczy@usdoj.gov
                                  Email: ahmed.baset@usdoj.gov

For the Defendant:                Michelle M. Peterson
                                  FEDERAL PUBLIC DEFENDER
                                  FOR THE DISTRICT OF COLUMBIA
                                  625 Indiana Avenue, NW
                                  Suite 550
                                  Washington, D.C. 20004
                                  (202) 208-7500
                                  Shelli_peterson@fd.org
 Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 2 of 15




APPEARANCES CONTINUED:

Court Reporter:                   William P. Zaremba
                                  Registered Merit Reporter
                                  Certified Realtime Reporter
                                  Official Court Reporter
                                  E. Barrett Prettyman CH
                                  333 Constitution Avenue, NW
                                  Washington, D.C. 20001
                                  (202) 354-3249
Proceedings recorded by mechanical stenography; transcript
produced by computer-aided transcription
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 3 of 15

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1                          P R O C E E D I N G S

2               COURTROOM DEPUTY:     Good afternoon, Your Honor.

3    This is Criminal Case No. 21-28-3, the United States of

4    America versus Jessica Marie Watkins.

5               Ahmed Baset and Kathryn Rakoczy for the

6    government.

7               Shelli Peterson for the defense.

8               The defendant is appearing via videoconference for

9    this hearing.

10              THE COURT:    Okay, Counsel.     Good afternoon.

11              Ms. Watkins, good afternoon to you.

12              Can you hear me okay, ma'am?

13              THE DEFENDANT:     Yes, Your Honor.

14              THE COURT:    Okay.

15              So we're here this afternoon for our status

16   hearing and to sort of check in and see where things are.

17              I understand that Ms. Watkins had a presentment

18   that was scheduled before Magistrate Judge Meriweather, but

19   that that's been postponed and that she hasn't yet had a

20   detention hearing.

21              Is that where things stand at this point?

22              MS. PETERSON:     Yes, Your Honor.

23              We've had the initial appearance, but we postponed

24   the detention hearing until February 22nd.

25              THE COURT:    Okay.
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 4 of 15

                                                                             4

1               And she's now indicted.      So has she been

2    arraigned?

3               MS. PETERSON:     I believe we did that in front of

4    Magistrate Judge Faruqui.      But I will -- correct me if I am

5    wrong; I've done a lot of these in the last few days.

6               MR. BASET:    I believe that's accurate.

7               THE COURT:    Mr. Douyon, can you -- are you all

8    confident that that's accurate or you're --

9               MS. PETERSON:     I'm 90 percent.    So I don't know if

10   anybody is more than 90.

11              THE COURT:    Okay.

12              COURTROOM DEPUTY:     I was also told -- this is

13   Jean-Claude, the Courtroom Deputy.

14              I was told by Judge Faruqui's Courtroom Deputy

15   that Ms. Watkins was arraigned on Friday.

16              THE COURT:    All right.    So she has been arraigned.

17   All right.   Good.

18              So then, Ms. Peterson, I think the question in

19   terms of the detention hearing is, do you -- well, I mean,

20   you all can return to Magistrate Judge Robinson -- I keep

21   saying Robinson -- Meriweather, if you'd like, or we can put

22   this down on my calendar to just do it in front of me.            I'm

23   happy to do that.

24              MS. PETERSON:     I believe that it's scheduled in

25   front of Judge Faruqui.
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 5 of 15

                                                                           5

1               THE COURT:    Oh, Faruqui.    Okay.    I thought it was

2    Judge Meriweather.

3               MS. PETERSON:     Right.

4               And I think we're happy to start there.         And then

5    that way if either side needs to come to you, we can do that

6    afterwards.

7               THE COURT:    All right.    Fine.

8               I just thought we could be a little bit more

9    efficient.    But that's fine.    If you want to return to

10   Judge Faruqui first, that's fine.

11              So then in terms of moving the case forward, have

12   you had discussions with the government about discovery?

13              And there's a motion for protective order filed in

14   this case.    I sort of addressed that a little bit in the

15   case involving the co-defendant and --

16              MS. PETERSON:     We've had some initial discussions,

17   Your Honor, and we need to continue to have those

18   discussions.

19              We've worked out a method for -- we need to get

20   some of the initial discovery prior to the formal protective

21   order being resolved.     So we're going to be able to start

22   that process.

23              I was going to propose we come back in

24   approximately 60 days, but I understand that Mr. Donovan is

25   scheduled for March 12th.      So if the Court wishes to have us
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 6 of 15

                                                                           6

1    on the same schedule, that's also fine as well.          We may not

2    be in a position to advance the ball much by then, but we

3    can certainly come that date.

4                THE COURT:   Right.

5                We've got Mr. Caldwell set for the 12th of March

6    at 3:00.

7                And so I would like to get everyone on the same

8    schedule.

9                And we're still waiting for the third co-defendant

10   to get to D.C.    I understand he was ordered detained, but

11   he's still en route.

12               Is that correct, Mr. Baset?      Do you have any

13   further update on his status?

14               MR. BASET:   Unfortunately not.

15               That is our last understanding, is that he is to

16   arrive forthwith, but hasn't arrived at this moment.

17               THE COURT:   Okay.

18               All right.   So let's set down the next date in

19   front of me to coincide with Mr. Caldwell's hearing on March

20   the 12th.

21               Have you -- there's a government motion that's

22   pending for pretrial detention; is that right?

23               MR. BASET:   There is.

24               THE COURT:   Okay.

25               So speedy trial time is currently tolled;
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 7 of 15

                                                                              7

1    everybody agrees with that?

2               MS. PETERSON:     Yes.   Yes, Your Honor.

3               But in light of the fact that that will probably

4    be resolved next week, we have no objection to excluding the

5    time between now and March 12th when we return from the

6    speedy trial clock.

7               THE COURT:    Okay.

8               So based, then, on the defendant's motion, I do

9    find that it's in the interests of justice -- or that the

10   interests of justice outweigh the interests of the defendant

11   and the public in a speedy trial, and, therefore, will

12   exclude time until March the 12th for calculating speedy

13   trial.

14              That exclusion is warranted for two reasons:           One,

15   to afford time for the government to provide discovery to

16   the defendant, and for the defendant and her counsel to

17   review that discovery and begin preparing a defense; and,

18   two, because the current standing order excludes time

19   through March the 15th due to the pandemic and the inability

20   to hold jury trials and for the reasons stated in that

21   standing order which I adopt and incorporate here, for those

22   additional reasons, speedy trial will be excluded through

23   March the 12th.

24              Okay.   Well, with that, then, is there anything

25   else we ought to discuss this afternoon?
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 8 of 15

                                                                         8

1                MS. PETERSON:    No, Your Honor.

2                I would go back to the question the Court raised,

3    which was where to do the detention hearing, and I hadn't

4    really thought through my answer because I wasn't expecting

5    the question.

6                And it maybe does make more sense just to do it

7    directly to you since I suspect either side will end up of

8    appealing it, so it probably would be more efficient.

9                If the Court is available to hear the detention

10   hearing on either Monday or Tuesday of next week, we would

11   be comfortable simply having that come to you.

12               THE COURT:   What's the status of the filings?

13               The government's filed a motion, I take it?

14               MS. PETERSON:    They have.

15               I have not filed a response.      I am waiting to get

16   some documentation that I want to include with that

17   response.    But I can get that filed by the end of this week

18   or the weekend at the latest if the Court wants to move it a

19   day or so.    I don't want to push it out too far; but if the

20   Court needs time to review that, we could do that as well.

21               THE COURT:   I could, in theory, if there's time

22   available -- I mean, I could, basically, take

23   Judge Faruqui's time -- well, I don't know that I can just

24   take his time, but if --

25               MS. PETERSON:    Oh.   At the jail, right.
      Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 9 of 15

                                                                       9

1                THE COURT:   If there's time available with a jail

2    connection either -- on the 22nd, I'm essentially wide open

3    that day.

4                COURTROOM DEPUTY:    There's time available on the

5    22nd at 11:00 a.m. or 11:30 a.m.

6                MS. PETERSON:    I have an 11:30 already from the

7    jail.

8                I wonder if Judge Faruqui takes his off the

9    calendar at 10:00, if that time would then be available for

10   you to put it on the calendar.

11               THE COURT:   I've got an 11:30 I need to -- excuse

12   me -- a 10:30.    So -- it will be brief, but I think we

13   probably will need more than a half hour.

14               Is there an afternoon time available in the 22nd?

15               COURTROOM DEPUTY:    There's no afternoon time

16   available on the 22nd, unfortunately.

17               MS. PETERSON:    I could also do any time on the

18   23rd, if that works for the Court.

19               COURTROOM DEPUTY:    The jail --

20               THE COURT:   What's available on the 23rd?

21               COURTROOM DEPUTY:    The 23rd, 1:00 p.m.

22               THE COURT:   Could you all do 1:00 p.m.?

23               MS. PETERSON:    I can do that.

24               MR. BASET:   That works for the government.

25   Thank you.
     Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 10 of 15

                                                                         10

1               THE COURT:    All right.

2               So let's set this down for 1:00 p.m. for a

3    detention hearing on the 23rd.

4               And, Ms. Peterson, you had planned to file your

5    opposition by when, the 19th?

6               MS. PETERSON:    If I could get it filed on

7    Saturday -- I don't have a lot of time during the day these

8    days, but I could get it done by Saturday.

9               THE COURT:    Okay.   That's fine.

10              And if the government wants to file -- it's not a

11   lot of turnaround time, but if the government wants to file

12   something by the 22nd as a reply, it's welcome to do that,

13   okay?

14              MR. BASET:    Thank you.

15              THE COURT:    All right.

16              So with that, I think that takes care of all the

17   issues we need to discuss this afternoon.

18              Does anybody else have anything else on their

19   minds that they want to raise at this point?

20              MS. PETERSON:    Not for the defense, Your Honor.

21              MR. BASET:    Not from the government.      Thank you.

22              THE COURT:    Okay.

23              All right.

24              I guess the one thing -- let me just make sure

25   this was done:    Did Magistrate Judge Faruqui remind the
     Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 11 of 15

                                                                        11

1    government of its Brady and -- its Brady obligations at the

2    initial hearing?

3               MR. BASET:    I don't believe so.

4               We are aware of them certainly, but I don't

5    believe we were admonished.

6               THE COURT:    Okay.

7               Well, let me just -- in order to be compliant with

8    the requirements of the law, that I just remind the

9    government of its obligations to disclose exculpatory and

10   favorable information to the defendant and to defense

11   counsel.

12              I'll also remind the government of its potential

13   consequences for the failure to do so.        Those consequences

14   are both case specific and also potentially affect the

15   attorney as well.

16              And so I'll just ask the government to acknowledge

17   your understanding of your responsibilities under Brady and

18   the Local Rules.

19              MR. BASET:    Understood.    Thank you.

20              THE COURT:    Okay.   Very good.

21              All right, everyone.     With that, we'll look

22   forward to getting, Ms. Peterson, your papers, and we'll see

23   everybody in about a week.

24              MS. PETERSON:    Thank you, Your Honor.

25              (Proceedings concluded at 4:16 p.m.)
Case 1:21-cr-00028-APM Document 80 Filed 03/17/21 Page 12 of 15




                      C E R T I F I C A T E
                I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
                Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the
technological limitations of court reporting remotely.




Date:__March 3, 2021______        /S/__William P. Zaremba______
                                  William P. Zaremba, RMR, CRR
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          Case 1:21-cr-00028-APM
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                                                      9/9 9/12  4/14 Page 13 of 15
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H        Case 1:21-cr-00028-APM
                     4/20       Document   80 Filed
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                                                                      5/20 14 of 15
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                           Kathryn Rakoczy [1]     much    [1]   6/2            5/20                    standing    [2] 7/18 7/21
hour [1] 9/13               3/5                    my [2] 4/22 8/4             provide [1] 7/15         start [2] 5/4 5/21
I                          kathryn.rakoczy [1]                                 public [2] 1/19 7/11     stated [1] 7/20
                            1/17                   N                           push   [1] 8/19          STATES [4] 1/1 1/3
I am [1] 8/15
                           keep    [1] 4/20        need   [5]   5/17 5/19 9/11 put [2] 4/21 9/10         1/10 3/3
I believe [2] 4/6 4/24
           8/17 8/23  9/23 know [2] 4/9 8/23       9/13 10/17                                           status   [4] 1/9 3/15 6/13
I can [3]                                                                      Q
                                                   needs    [2]  5/5 8/20                                8/12
I don't [2] 11/3 11/4      L                       next [3] 6/18 7/4 8/10 question [3] 4/18 8/2 stenography [1] 2/6
I don't have [1] 10/7
                           last [2] 4/5 6/15       no [5] 1/4 3/3 7/4 8/1       8/5                     still [2] 6/9 6/11
I guess [1] 10/24
                           latest [1] 8/18         9/15                                                 Street [1] 1/15
I have [2] 8/15 9/6                                                            R
                           law [1] 11/8            not  [6]  6/1 6/14 8/15                              subject [1] 12/6
I just [2] 5/8 11/8
                           Leigh [1] 1/13          10/10 10/20 10/21           raise [1] 10/19          Suite [1] 1/20
I keep [1] 4/20
                           let [2] 10/24 11/7      note  [1]   12/5            raised [1] 8/2           sure [1] 10/24
I mean [1] 4/19
                           let's [2] 6/18 10/2     now   [2]  4/1 7/5          Rakoczy [2] 1/13 3/5 suspect [1] 8/7
I think [4] 4/18 5/4 9/12
                           light [1] 7/3           NW [3] 1/15 1/20 2/4        really [1] 8/4
 10/16                                                                                                  T
                           like [2] 4/21 6/7                                   Realtime [1] 2/3
I thought [1] 5/1                                  O
                           limitations [1] 12/7                                reasons [3] 7/14 7/20 take [3] 8/13 8/22 8/24
I understand [3] 3/17
                           little [2] 5/8 5/14     objection [1] 7/4            7/22                    takes [2] 9/8 10/16
 5/24 6/10
                           Local [1] 11/18         obligations [2] 11/1        record [1] 12/3          technological [1] 12/7
I want [1] 8/16
                           look [1] 11/21          11/9                        recorded [1] 2/6         terms [2] 4/19 5/11
I was [3] 4/12 4/14
                           lot [3] 4/5 10/7 10/11 occurred [1] 12/5            Registered [1] 2/2       than [2] 4/10 9/13
 5/23
                                                   off [1] 9/8                 remind [3] 10/25 11/8 Thank [5] 9/25 10/14
I will [1] 4/4             M                       OFFICE [1] 1/14              11/12                    10/21 11/19 11/24
I'll [2] 11/12 11/16       ma'am [1] 3/12          Official [1] 2/3            remotely [1] 12/7        Thank    you [5] 9/25
I'm [3] 4/9 4/22 9/2       Magistrate [4] 3/18 4/4 Oh [2] 5/1 8/25             reply [1] 10/12           10/14 10/21 11/19
I've [2] 4/5 9/11           4/20 10/25             okay [15]                   Reporter [4] 2/2 2/2      11/24
inability [1] 7/19         Magistrate Judge [2] one [2] 7/14 10/24              2/3 2/3                 that  [48]
include [1] 8/16            4/4 10/25              open [1] 9/2                reporting [1] 12/7       that's [8] 3/19 4/6 4/8
incorporate [1]   7/21     make [2] 8/6 10/24      opposition [1] 10/5         requirements [1] 11/8 5/9 5/10 6/1 6/21 10/9
Indiana [1] 1/20           March [8] 5/25 6/5 6/19 order [5] 5/13 5/21         resolved [2] 5/21 7/4 their [1] 10/18
indicted [1] 4/1            7/5 7/12 7/19 7/23     7/18 7/21 11/7              response [2] 8/15 8/17 them [1] 11/4
information [1] 11/10 12/10
                                                   ordered [1] 6/10            responsibilities [1]     then [7] 4/18 5/4 5/11
initial [4] 3/23 5/16      Marie [1] 3/4           ought [1] 7/25               11/17                    6/2 7/8 7/24 9/9
 5/20 11/2                 matter [1] 12/4         our [2] 3/15 6/15           return [3] 4/20 5/9 7/5 theory [1] 8/21
interests [3] 7/9 7/10 may [1] 6/1
                                                   out [2] 5/19 8/19           review [2] 7/17 8/20     there [4] 5/4 6/23 7/24
 7/10                      maybe [1] 8/6           outweigh [1] 7/10           right [12] 4/16 4/17 5/3 9/14
involving [1] 5/15         me [7] 3/12 4/4 4/22                                 5/7 6/4 6/18 6/22 8/25 there's [6] 5/13 6/21
is [20]                     6/19 9/12 10/24 11/7   P                            10/1 10/15 10/23 11/21 8/21 9/1 9/4 9/15
is there [2] 7/24 9/14 mean [2] 4/19 8/22          p.m [5] 1/6 9/21 9/22 RMR [2] 12/2 12/11             therefore [2] 7/11 12/6
issues [1] 10/17           mechanical [1] 2/6      10/2 11/25                  Robinson [2] 4/20 4/21 these [2] 4/5 10/7
it [13]                    MEHTA [1] 1/10          pandemic [2] 7/19 12/6 route [1] 6/11                they [2] 8/14 10/19
it's [4] 4/24 7/9 10/10 Merit [1] 2/2              papers [1] 11/22            Rules [1] 11/18          thing [1] 10/24
 10/12                     Meriweather [3] 3/18 pending [1] 6/22                                        things [2] 3/16 3/21
its [4] 11/1 11/1 11/9      4/21 5/2               percent [1] 4/9             S                        think [4] 4/18 5/4 9/12
 11/12                     method [1] 5/19         peterson [6] 1/18 1/22 same [2] 6/1 6/7               10/16
J                          Michelle [1] 1/18       3/7 4/18 10/4 11/22         Saturday [2] 10/7 10/8 third [1] 6/9
                           minds [1] 10/19         Plaintiff [1] 1/4           saying [1] 4/21          this [15]
jail [4] 8/25 9/1 9/7
                           moment [1] 6/16         planned [1] 10/4            schedule [2] 6/1 6/8     those [3] 5/17 7/21
 9/19
                           Monday [1] 8/10         Please [1] 12/5             scheduled [3] 3/18        11/13
Jean [1] 4/13
                           more [5] 4/10 5/8 8/6 point [2] 3/21 10/19           4/24 5/25               thought    [3] 5/1 5/8 8/4
Jean-Claude [1] 4/13        8/8 9/13               position [1] 6/2            see [2] 3/16 11/22       through    [3] 7/19 7/22
JESSICA [2] 1/6 3/4
                           motion [4] 5/13 6/21    postponed [2] 3/19          sense [1] 8/6             8/4
JUDGE [11] 1/10 3/18 7/8 8/13                      3/23                        set [3] 6/5 6/18 10/2    time [17]
 4/4 4/14 4/20 4/25 5/2
                           move [1] 8/18           potential [1] 11/12         she [3] 3/19 4/1 4/16    titled [1] 12/4
 5/10 8/23 9/8 10/25
                           moving [1] 5/11         potentially [1] 11/14       she's [1] 4/1            told [2] 4/12 4/14
Judge Faruqui [3]
                           Mr. [5] 4/7 5/24 6/5    preparing [1] 7/17          Shelli [2] 1/22 3/7      tolled [1] 6/25
 4/25 5/10 9/8
                            6/12 6/19              presentment [1] 3/17 side [2] 5/5 8/7                too [1] 8/19
Judge Faruqui's [2]
                           Mr. Baset [1] 6/12      pretrial [1] 6/22           simply [1] 8/11          transcript [3] 1/9 2/6
 4/14 8/23
                           Mr. Caldwell [1] 6/5    Prettyman [1] 2/4           since [1] 8/7             12/3
Judge Robinson [1]
                                                                                  15


T        Case 1:21-cr-00028-APM
                     when [2] 7/5 10/5 Document 80 Filed 03/17/21 Page 15 of 15
                          where [3] 3/16 3/21 8/3
transcription [1] 2/7
                          which [2] 7/21 8/3
trial [5] 6/25 7/6 7/11
                          wide [1] 9/2
 7/13 7/22
                          will [7] 4/4 7/3 7/11
trials [1] 7/20
                          7/22 8/7 9/12 9/13
Tuesday [1] 8/10
                          William [4] 2/2 12/2
turnaround [1] 10/11
                          12/10 12/11
two [2] 7/14 7/18
                          wishes [1] 5/25
U                         wonder [1] 9/8
U.S [1] 1/14              worked [1] 5/19
under [1] 11/17           works [2] 9/18 9/24
understand [3] 3/17       would [5] 6/7 8/2 8/8
5/24 6/10                 8/10 9/9
understanding [2]         wrong [1] 4/5
6/15 11/17                Y
Understood [1] 11/19
                          Yes [4] 3/13 3/22 7/2
unfortunately [2] 6/14
                           7/2
9/16
                          yet [1] 3/19
UNITED [4] 1/1 1/3
1/10 3/3                  you [21]
                          you'd [1] 4/21
United States of [1]
3/3                       you're [1] 4/8
                          your [12] 3/2 3/13 3/22
until [2] 3/24 7/12
                           5/17 7/2 8/1 10/4 10/20
up [1] 8/7
                           11/17 11/17 11/22
update [1] 6/13
                           11/24
us [1] 5/25
                          Your Honor [8] 3/2
usdoj.gov [2] 1/17
                           3/13 3/22 5/17 7/2 8/1
1/17
                           10/20 11/24
V
                          Z
versus [1] 3/4
                          Zaremba [4] 2/2 12/2
Very [1] 11/20
                          12/10 12/11
via [2] 1/9 3/8
                          ZOOM [1] 1/9
videoconference [1]
 3/8
vs [1] 1/5
W
waiting [2] 6/9 8/15
want [4] 5/9 8/16 8/19
10/19
wants [3] 8/18 10/10
10/11
warranted [1] 7/14
was [9] 3/18 4/12 4/14
4/15 5/1 5/23 6/10 8/3
10/25
Washington [4] 1/5
1/15 1/21 2/5
wasn't [1] 8/4
WATKINS [5] 1/6 3/4
3/11 3/17 4/15
way [1] 5/5
we [19]
we'll [2] 11/21 11/22
we're [4] 3/15 5/4 5/21
6/9
We've [4] 3/23 5/16
5/19 6/5
week [4] 7/4 8/10 8/17
11/23
weekend [1] 8/18
welcome [1] 10/12
well [7] 4/19 6/1 7/24
8/20 8/23 11/7 11/15
were [1] 11/5
What's [2] 8/12 9/20
